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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Ian Macleod
                                               Plaintiff,
v.                                                          Case No.: 1:19−cv−00683
                                                            Honorable Lindsay C. Jenkins
MidAmerican Energy Services, LLC, et al.
                                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 24, 2024:


       MINUTE entry before the Honorable Lindsay C. Jenkins:Jury trial held and
continued to January 25, 2024 at 9:00 a.m. in Courtroom 2119. Mailed notice. (jlj, )




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